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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF MICHIGAN

JOSEPH SCOTT SHERRILL and              )
KEITH A. SIVERLY, individually and     )
on behalf of all others similarly situated,
                                       )
                                       )                              Case No. 04-72949
               Plaintiffs,             )
                                       )                              Judge Avern Cohn
     v.                                )
                                       )
FEDERAL-MOGUL CORPORATION              )
RETIREMENT PROGRAMS COMMITTEE, et al., )
                                       )
                                       )
               Defendants.             )

                                    ORDER AND FINAL JUDGMENT1

          And now this 12th day of July, 2007:

          (a)      Upon consideration of all documents filed in support of (i) Plaintiffs’ Motion for

 Final Approval of Class Action Settlement Agreement (the “Final Approval Motion”) and

 Motion for Order Preliminarily Certifying Settlement Class, Granting Preliminarily Settlement

 Approval, Approving Form and Method of Notice, and Setting Date and Time for Fairness

 Hearing on Final Approval (“Preliminary Approval Motion”); (ii) the Plan of Allocation; (iii)

 Class Counsel’s Petition for Attorneys’ Fees, Reimbursement of Costs and Expenses, and

 Incentive Payments to Class Representatives (“Compensation Motion”) (collectively, the

 “Motions”) and (iv) all objections filed to granting the relief requested in the Motions;

          (b)      the Court having entered on April 24, 2007, its Findings and Order Preliminarily

 Certifying Settlement Class, Granting Preliminary Settlement Approval, Approving Form and




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  Italicized terms not otherwise deferred in this Order shall have the same meaning as ascribed to them in the
 Settlement Agreement.
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 Method of Notice, and Setting a Date and Time for Fairness Hearing on Final Approval

 (“Preliminary Approval Order”);

        (c)      the Court having received declarations attesting to the mailing of the Class Notice

 and the publication of the Summary Notice in accordance with the Preliminary Approval Order;

 and the Court having been advised that Fiduciary Counselors, Inc., the Independent Fiduciary

 retained by Federal-Mogul to review the Settlement on behalf of the Plan, has given its approval

 to the Settlement; and

        (d)      a hearing having been held before this Court on July 12, 2007 (the “Fairness

 Hearing”) (i) to determine whether to grant the Final Approval Motion; (ii) to determine whether

 to approve the Plan of Allocation; (iii) to determine whether to grant the Compensation Motion;

 and (iv) to rule upon such other matters as the Court might deem appropriate,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

        1.       The Court has jurisdiction over the subject matter of this action, all members of

 the Settlement Class, and all Defendants pursuant to 29 U.S.C. § 1132(e).

        2.       In accordance with Federal Rule of Civil Procedure 23 and the requirements of

 due process, the Settlement Class has been given proper and adequate notice of: the Settlement

 Agreement, the Fairness Hearing, the Compensation Motion, and the Plan of Allocation Motion,

 such notice having been carried out in accordance with the Preliminary Approval Order. The

 notice and notice methodology implemented pursuant to the Settlement Agreement and the

 Court’s Preliminary Approval Order 2 (a) constituted the best practicable notice; (b) constituted

 notice that was reasonably calculated, under the circumstances, to apprise members of the

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     Class Counsel advised the Court prior to the Fairness Hearing that the Summary Notice was not published 60
     days prior to the Fairness Hearing, although notice was mailed to the last known address of class members and
     posted on Class Counsel’s websites. In light of the notice that had been given, the Court found it appropriate
     to hold the Fairness Hearing as planned. The Court further finds that notice is adequate under the
     circumstances.



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 Settlement Class of the pendency of the litigation, their right to object to the Settlement, and their

 right to appear at the Fairness Hearing; (c) were reasonable and constituted due, adequate and

 sufficient notice to all persons entitled to notice; and (d) met all applicable requirements of the

 Federal Rules of Civil Procedure, and any other applicable law.

        3.      The Settlement Agreement in this action warrants final approval pursuant to

 Federal Rule of Civil Procedure 23(e)(1)(A) and (C) because it is fair, adequate, and reasonable

 to those it affects and in the public interest based upon (a) the likelihood of success on the merits

 weighed against the amount and form of relief offered in the Settlement; (b) the risks, expense,

 and delay of further litigation; (c) the judgment of experienced counsel who have competently

 evaluated the strength of their proofs; (d) the amount of discovery completed and the character of

 the evidence uncovered; (e) the fairness of the Settlement to the unnamed class members; (f) the

 number of objections to the Settlement Agreement by Settlement Class members and the lack of

 objection by the Independent Fiduciary; (g) the fact that the Settlement is the product of

 extensive arm’s length negotiations; and (h) the fact that this Settlement is consistent with the

 public interest. In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 522 (E.D. Mich. 2003)

 (citing Granada Invs., Inc. v. DWG Corp., 962 F.2d 1203, 1205 (6th Cir. 1992); Williams v.

 Vukovich, 720 F.2d 909 (6th Cir. 1983)).

        4.      The Final Approval Motion hereby is GRANTED, and the Settlement hereby is

 APPROVED as fair, reasonable, adequate, in the best interests of the Plan and Settlement Class

 members and in the public interest. The terms of the Settlement are hereby determined to be fair,

 reasonable and adequate, for the exclusive benefit of participants and beneficiaries of the Plan in

 compliance with ERISA. The Parties are directed to consummate the Settlement in accordance

 with the terms of the Settlement Agreement.




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        5.      No members of the Settlement Class filed objections to the Settlement Agreement.

        6.      The Court determines that the Settlement Agreement was negotiated vigorously,

 in good faith, and at arm's-length, by the Named Plaintiffs and Class Counsel on behalf of the

 Plan and the Settlement Class members. The Court is aware that the Settlement was reached

 after multiple intensive mediation sessions, which were presided over by two private mediators.

 The Court finds that the Named Plaintiffs have acted independently and that their interests are

 identical to the interests of the Plan and the Settlement Class members.

        7.      The Plan of Allocation is hereby APPROVED as fair, adequate, and reasonable.

 Class Counsel shall direct the Escrow Agent, as that term is defined in the Settlement Agreement,

 to disburse the Net Proceeds to the Master Trust for the Federal-Mogul Corporation Investment

 Program (“401(k) Plan”) for distribution by the 401(k) Plan’s trustee in accordance with the

 Plan of Allocation. Upon this Order becoming Final, the Escrow Agent is hereby directed to

 disburse the Net Proceeds to the Master Trust, subject to any amounts withheld by Class Counsel

 for the payment of the taxes and related expenses as authorized in the Settlement Agreement.

        8.      The Defendants shall direct the 401(k) Plan’s trustee to distribute the Net

 Proceeds received by the Master Trust for the 401(k) Plan in accordance with the Plan of

 Allocation.

        9.      The Court hereby approves the maintenance of this Action as a mandatory non-

 opt-out class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(1) and (b)(2). The Settlement

 Class consists of the following individuals:

                All participants in or beneficiaries of the Federal-Mogul
                Corporation Salaried Employees Investment Program (the “Plan”)
                between July 1, 1999, and October 30, 2002, for whose benefit the
                Plan invested or maintained investments in the Federal-Mogul
                Common Stock Fund and/or Federal-Mogul Corporation Series C
                ESOP Convertible Preferred Stock (“Preferred Stock”).



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        10.     The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23

 have been satisfied in that:

                a.      The Settlement Class, consisting of more than twelve thousand members,

 is so numerous that joinder all of its members would be impracticable;


                b.      There are questions of fact and law common to the Settlement Class,

 including whether the Defendants breached their fiduciary duties with respect to investments in

 the Common Stock Fund; whether Defendants breached their fiduciary duties with respect to

 investments in Preferred Stock; whether Defendants breached their fiduciary duties by failing to

 provide complete and accurate information to participants; and whether the Plan suffered losses;

                c.      The Named Plaintiffs, Joseph Scott Sherrill, Keith A. Siverly, Linda J.

 Caldwell, and Albert T. Beane are members of the Settlement Class, and their claims are typical

 of the claims of the Settlement Class;

                d.      The Named Plaintiffs are suitable for appointment as representatives of the

 Settlement Class and have and will fairly and adequately protect the interests of the Settlement

 Class in that (i) the interests of Named Plaintiffs and the nature of their alleged claims are

 consistent with those of the members of the Settlement Class; (ii) there appear to be no conflicts

 between or among the Named Plaintiffs and the Settlement Class; and (iii) the Named Plaintiffs

 have retained qualified, reputable counsel who are experienced in preparing and prosecuting

 large, complicated ERISA class actions;

                e.      The prosecution of separate actions by individual members of the

 Settlement Class would create a risk of inconsistent or varying adjudications as to individual




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 class members, that would establish incompatible standards of conduct for the parties opposing

 the claims asserted in the Action;

                 f.      The prosecution of separate actions by individual members of the

 Settlement Class would create a risk of inconsistent or varying adjudications as to individual

 class members that would, as a practical matter, be dispositive of the interests of the other

 members not parties to the adjudications, or substantially impair or impede those persons’ ability

 to protect their interests;

                 g.      Defendants have acted or refused to act of grounds generally applicable to

 the Settlement Class members, thereby making appropriate final injunctive relief or

 corresponding declaratory relief with respect to the Settlement Class as a whole;

                 h.      The definition of the Settlement Class is sufficiently precise and proper

 notice was provided to the Settlement Class; and

                 i.      Class Counsel is appropriately qualified and suitable for appointment to

 represent the Settlement Class, in that Class Counsel has done extensive work identifying and

 investigating potential claims in the action, and has vigorously and ably represented the interests

 of the Settlement Class throughout this litigation; Class Counsel is experienced in handling class

 actions, other complex litigation and claims of the type asserted in the Action; Class Counsel is

 knowledgeable of the applicable law; and Class Counsel has committed the necessary resources

 to represent the Settlement Class.

         11.     Based on the work performed by Class Counsel and the results achieved, the

 Compensation Motion hereby is GRANTED. Having reviewed the record, and the evidence

 presented in support of the Compensation Motion, including, but not limited to, the declarations

 of Class Counsel, the Court finds that Class Counsel vigorously and adequately represented the




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 Settlement Class for purposes of entering into and implementing the Settlement Agreement. The

 Settlement was negotiated at arm’s length by experienced counsel, who were fully informed of

 the facts and circumstances, and strengths and weaknesses of their respective positions. The

 Settlement was not reached until after the parties had engaged in extensive negotiations directly

 and with the assistance of professional mediators. Class Counsel and counsel for Defendants,

 thus, were well-positioned to evaluate the benefits of the Settlement, taking into account the

 expense, risk, and uncertainty of protracted litigation over numerous questions of fact and law.

        12.     Class Counsel’s requested fee award of 28 per cent of the Settlement Fund is

 reasonable when evaluated in light of (a) the value of the benefit rendered to the Settlement

 Class; (b) the value of the services on an hourly basis; (c) the fact that the services were

 undertaken on a contingent fee basis; (d) society’s stake in rewarding attorneys who produce

 such benefits in order to maintain an incentive to others; (e) the complexity of the litigation; and

 (f) the professional skill and standing of counsel involved on both sides. Bowling v. Pfizer, Inc.,

 102 F.3d 777, 779 (6th Cir. 1996).

        13.     Accordingly, Class Counsel are hereby awarded attorneys’ fees in the amount of

 28 per cent of the Settlement Fund, which the Court finds to be reasonable under the

 circumstances of this case. Class Counsel are further awarded the sum of $310,000 as

 reimbursement of costs and expenses, which the Court finds were reasonably incurred for the

 benefit of the Settlement Class in prosecuting the Settlement Class’s claims and in obtaining the

 Settlement, including expenses incurred in connection with experts and consultants, travel and

 other litigation-related expenses. The awards of attorneys’ fees, costs and expenses shall be

 allocated among Class Counsel as such counsel mutually agree for their respective contributions

 in the prosecution of the Action.




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        14.     Class Counsel’s request for incentive payments of $15,000 each for Joseph Scott

 Sherrill and Keith A. Siverly, and $5,000 each for Linda J. Caldwell, and Albert T. Beane is fair

 and reasonable in light of the Class Representatives’ substantial contribution to the litigation on

 behalf of the Settlement Class, including providing information to Class Counsel, reviewing and

 approving pleadings, assisting with discovery, preparing for and attending their depositions, and

 participating in settlement discussions. Accordingly, Named Plaintiffs/Class Representatives

 Joseph Scott Sherrill and Keith A. Siverly hereby are awarded $15,000 each, and Named

 Plaintiffs/Class Representatives Linda J. Caldwell and Albert T. Beane hereby are awarded

 $5,000 each, all payable from the Settlement Fund.

        15.     Upon this Order becoming final, Class Counsel is authorized, but not required, to

 transfer or sell the Sherrill Allowed Claim and deposit the proceeds of such transfer or sale into

 the Escrow Account for distribution in accordance with the terms of the Settlement Agreement.

        16.     Without further order of the Court, the parties may agree to reasonable extensions

 of time to carry out any of the provisions of the Settlement Agreement.

        17.     Released Claims. Except as specifically set forth in Paragraph 21 below, Named

 Plaintiffs, on behalf of themselves, the Plan, and the Settlement Class, fully, finally, and forever

 release, relinquish, and discharge all of the Defendants and Federal-Mogul and any person or

 entity that at any time served as a named or functional fiduciary or a trustee of the Plan (except

 the Independent Fiduciary) as well as any representative of any Defendants or Federal-Mogul or

 any such person or entity, including but not limited to their attorneys, agents, directors, officers,

 and employees, and the Insurers (the “Released Parties”) from, and are forever enjoined from

 prosecution of all of the Released Parties for, any and all actual or potential claims, actions,

 causes of action, demands, obligations, liabilities, attorneys’ fees, and costs whether arising




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 under local, state, or federal law, whether by statute, contract, common law, or equity, whether

 brought in an individual, representative, or any other capacity, whether known or unknown,

 suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent,

 liquidated or unliquidated that have been, could have been, or could be brought by the Named

 Plaintiffs, by or on behalf of the Plan, and/or by any member of the Settlement Class, and arise

 out of or are related in any way to the acts, omissions, facts, matters, transactions, or occurrences

 that have been alleged or referred to in the Action, including but not limited to, claims based on:

 (a) breach of ERISA fiduciary duties to the Plan, to the Named Plaintiffs, to the Settlement Class,

 and to the other participants and beneficiaries of the Plan in connection with the acquisition and

 direct or indirect holding of Federal-Mogul common stock, units of the Common Stock Fund,

 and/or Federal-Mogul Series C ESOP Convertible Preferred Stock by the Plan or the Plan’s

 participants; (b) failure to provide complete and accurate information to the Plan’s fiduciaries or

 the Plan’s participants and beneficiaries regarding Federal-Mogul, Federal-Mogul common

 stock, the Common Stock Fund, and/or Federal-Mogul Series C ESOP Convertible Preferred

 Stock; (c) failure to appoint, remove and/or adequately monitor the Plan’s fiduciaries; (d)

 violation of ERISA duties related to the acquisition, disposition, or retention of Federal-Mogul

 common stock, units of the Common Stock Fund, and/or Federal-Mogul Series C ESOP

 Convertible Preferred Stock by the Plan; and (e) claims that would be barred by principles of res

 judicata had the claims asserted in the Action been fully litigated and resulted in a final judgment

 or order (collectively, “Released Claims”).

        In connection with such waiver and relinquishment, Plaintiffs have acknowledged that

 they are aware that they have or may hereafter discover claims presently unknown or

 unsuspected, or facts in addition to or different from those which now are known or believed to




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 be true, with respect to the matters set forth in the Action. Nevertheless, it shall be the intention

 of Plaintiffs, through the Settlement Agreement, and with the advice of counsel, to fully, finally

 and forever to settle and release all such matters. In furtherance of such intention, the releases

 herein given by Plaintiffs shall be and remain in effect as full and complete releases of the

 matters set forth in the Action, notwithstanding the discovery or existence of any such additional

 or different claims or facts relative hereto.

         18.     Releases of Named Plaintiffs, the Settlement Class and Class Counsel. Subject to

 Paragraphs 20 & 21 below, the Defendants and Federal-Mogul fully, finally, and forever release,

 relinquish, and discharge, and are forever enjoined from prosecution of Named Plaintiffs, the

 Plan, the Settlement Class, and Class Counsel from any and all actual or potential claims,

 actions, causes of action, demands, obligations, liabilities, attorneys’ fees, or costs, whether

 arising under local, state, or federal law, whether by statute, contract, common law, or equity,

 whether brought in an individual, representative, or any other capacity, whether known or

 unknown, suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or

 contingent, liquidated or unliquidated that have been, could have been, or could be brought by

 the Defendants or Federal-Mogul and arise out of or are related in any way to the acts,

 omissions, facts, matters, transactions, or occurrences that have been alleged or referred to in the

 Action, or the method and manner of the distribution of the Settlement Fund and the Plan of

 Allocation.

         19.     Reciprocal Releases among the Defendants and Federal-Mogul. Each Defendant

 and Federal-Mogul releases and forever discharges each and every other Person who is a

 Defendant, as well as Federal-Mogul, from any and all claims relating to the Released Claims,

 including any and all claims for contribution or indemnification for such claims.




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        20.     Scope of Releases. The releases set forth in Paragraphs 17-19 of this Order and

 Judgment (the “Releases”) are not intended to include the release of any rights or duties arising

 out of the Settlement Agreement, including the express warranties and covenants in this

 Settlement Agreement.

                The Releases granted herein shall be effective as a bar to any and all currently

 unsuspected, unknown, or partially known claims within the scope of their express terms and

 provisions. Accordingly, Named Plaintiffs hereby expressly waive, on their own behalf and on

 behalf of all members of the Settlement Class and on behalf of the Plan, and the Defendants and

 Federal-Mogul hereby expressly waive, any and all rights and benefits respectively conferred

 upon them by the provisions of Section 1542 of the California Civil Code and all similar

 provisions of the statutory or common laws of any other State, Territory, or other jurisdiction.

 Section 1542 reads in pertinent part:

                        “A general release does not extend to claims that the
                        creditor does not know or suspect to exist in his favor at the
                        time of executing the release, which if known by him must
                        have materially affected his settlement with the debtor.”

        The Named Plaintiffs, on their own behalf and on behalf of all members of the Settlement

 Class and on behalf of the Plan, and the Defendants and Federal-Mogul each hereby

 acknowledge that the foregoing waiver of the provisions of Section 1542 of the California Civil

 Code and all similar provisions of the statutory or common law of any other State, Territory, or

 other jurisdiction was separately bargained for and that neither Named Plaintiffs, on the one

 hand, nor the Defendants or Federal-Mogul, on the other, would enter into this Settlement

 Agreement unless it included a broad release of unknown claims. Named Plaintiffs, on their own

 behalf and on behalf of all members of the Settlement Class and on behalf of the Plan, and the

 Defendants and Federal-Mogul each expressly agree that all release provisions in this Settlement



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 Agreement shall be given full force and effect in accordance with each and all of their express

 terms and provisions, including those terms and provisions relating to unknown, unsuspected,

 and future claims, demands, and causes of action. Named Plaintiffs assume for themselves, and

 on behalf of the Settlement Class and on behalf of the Plan, and the Defendants and Federal-

 Mogul assume for themselves, the risk of his, her or its respective subsequent discovery of

 understanding of any matter, fact, or law, that if now known or understood, would in any respect

 have affected his, her, or its entering into this Settlement Agreement.

           21.   Persons and Claims Not Released. The settlement and dismissal of the Action

 shall not release, bar or waive any ERISA section 502(a)(1)(B) claim for vested benefits by any

 Plan participant or beneficiary where such claims are unrelated to any matter asserted in this

 Action.

           22.   Without affecting the finality of this Order, jurisdiction is hereby retained over

 this Action and the Parties, the Plan, and the Settlement Class members for all matters relating to

 the Action, including (without limitation) the administration, interpretation, effectuation or

 enforcement of the Settlement Agreement and this Final Order and Judgment, and including any

 application for fees and expenses incurred in connection with administering and distributing the

 Settlement proceeds to the members of the Settlement Class.

           23.   Upon this Order becoming Final, all counts asserted in the Second Amended

 Complaint will be dismissed with prejudice without further order of the Court pursuant to the

 terms of the Settlement. In addition, the Named Plaintiffs and the Settlement Class and the Plan

 shall be deemed to have, and by operation of this Final Order and Judgment shall have, fully,

 finally, and forever released and are forever barred from the prosecution of, any and all Released

 Claims. In the event that the Settlement Agreement is terminated in accordance with its terms,




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 however: (a) this Judgment shall be null and void and shall be vacated nunc pro tunc, and (b)

 this action shall proceed as provided in the Settlement Agreement.

          24.   There is no just reason for delay in the entry of this Final Order and Judgment

 and immediate entry by the Clerk of the Court is expressly directed.



          IT IS SO ORDERED, ADJUDGED AND DECREED.

 Dated:         July 13, 2007.                                s/Avern Cohn
                                                             Avern Cohn
                                                             United States District Judge




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